Case 1:01-cv-12257-PBS Document 4684-2 Filed 09/05/07 Page 1 of 31

RANDLE AFFIDAVIT EXHIBIT 3
Case 1:01-cv-12257-PBS Document 4684-2 Filed 09/05/07 Page 2 of 31

Exhibit 3(a): Abbott

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SHEET METAL WORKERS' NATIONAL HEALTH FUND

P.O. Box 1449
. Goodletisville, TN 37070-1449
Claim No.2712494 phone (615) 859-0131 Toll-free (800) 831-4914 Check No. {249375
Explanation of Benefits SMW: Program

10/04/2004 10/04/2004 $158.50 $0.00 $19.60 $19.69 $19.69

Comments:

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Provider: FAMILY CARE MEDICAL CENTER
Participant SSN: Dependent
JLS ClaimNumber. 2712494

FAMILY CARE MEDICAL CENTER
1515 ALLEN ST
SPRINGFIELD, MA 01118

Southern Benefit
HI Administrators, Inc. 7

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Case 1:01-cv-12257-PBS Document 4684-2 Filed 09/05/07

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Amount Paid:

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SHEET METAL WORKERS' NATIONAL HEALTH FUND

P.O. Box 1449
_ Goodlettsville, TN 37070-1449
Claim No.1604128 phone 615) 859-0131 Toll-free (800) 831-4914 Check No. 0124159
Explanation of Benefits SMW+ Program

' 08/01/2001 08/31/2001 $6,335.25 $0.00 $560.62 $560.62 $560.62

* Comments:

2 : Ren

Provider: BERKSHIRE MEBICAL CENTER
Participant SSN:
CJB ClalmNumber, 1604128

BERKSHIRE MEDICAL CENTER
PO BOX 4999
PITTSFIELD, MA 01202

: Southern Benefit
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MEDICARE INTERMEDIARY REMITTANCE ADVICE

BERKSHIRE MEDICAL CENTER FISCAL PERIOD MEDICARE-RENAL

PO BOK 4999

PITTSFIELD MA 012020000

ENDING 09/30/01 MUTUAL OF OMAHA
P O BOX 2350
rem)

io DAC ire 721 OMAHA NE 681030000

INTERMEDIARY FILE DATE 10/11/01 PRINT PATE 10/25/02

NAME P. SERVICE FROM 08/01/01 THRU 08/31/01

HIC _Ic . PAT STAT 01 CLM STAT 1
- MR CLM -

CHARGES : PPS DATA: PAYMENT DATA:

REPORTED 6335.25 DRG NUMBER: _+ .REIMB RATE 0.39
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: DENTED 0.00 DRG/OPER 0.00 PROF COMP 0.00

DRG/ CAPITAL 6.00 ESRD AMOUNT . 0.00

DAYS: OUTLIER 0.00 HCSPS AMOUNT 2377.76

COST REPORT 9 NON LAB CHRG 0.00 NET REIMBURS 1817.14

COINSURANCE - 560.62
DEDUCTIBLE 0.00
CONTRACTUAL 3957.49.
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Case 1:01-cv-12257-PBS Document 4684-2 Filed 09/05/07 Page 9 of 31.

DEPENDENT (F APPLICABLE) RELATIONSHIP oa
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PROVIDER TAX ED. #: PATIENT AGGOUNT # 10 ;
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19/23/2002

SHEET METAL WORKERS’ NATIONAL HEALTH FUND

PO. BOX 1449 » GOODLETTSVILLE, TN 37070-1449 DATE SLED
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SHEET METAL WORKERS" NATIONAL HEALTH FUND

POOS3@BARY NGBLOGOOLEH 702339040 gu

RO, Box 1449
Goodletisville, Tennessee 37070-1449 ~ SNW+ PROG
Toll-Free 800-831-4914 Phone (615) 859-0131 .
EXPLANATION OF BENEFITS

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WINCHESTER HOSPITAL

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SUMMARY PC-PRINT

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SOUTHBRIDGE, MA 01550
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SHEET METAL WORKERS’ NATIONAL HEALTH FUND

P.O. Box 1449
. Goodlettsville, TN 37070-1449
Claim No.2632504 phone (615) 859-0331 Toll-free (800) 831:4914 Check No. 1171960 |

Explanation of Benefits SMW Program

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$468.77 $468.77 $468.77

07/07/2004 07/07/2004 $4,632.52

Cominents:

Provider: HARRINGTON MEMORIAL HOSPITAL
BS Participant SSN: .
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SOUTHBRIDGE, MA 01550

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SHEET METAL WORKERS' NATIONAL BEALTH FUND °

P.O. Box 1449 .
are Goodlettsville, TN 37070-1449 - -
Claim No.3034613 phone (615) 859-0131 Toll-free (800) 831-4914 . ‘Cheek No. 1549011
Explanation of Benefits SMW Program

- 06/23/2005 06/23/2005- $2,847.63 £0.00 $353.16, $153.16 " $153.16

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__ Participant SSN: q FPR, | cL 02
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- PO BOX 446000
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SHEET METAL WORKERS' NATIONAL HEALTH FUND

P.O. Box 1449
_ Goodlettsville, TN 37070-1449 :
Claim No.2554958 phone (615) 359-0131 Toll-free (800) 831-4914 Check No.1098039
: Explanation of Benefits: SMW Program ;

01/07/2004 01/08/2004 $3,510.55 $0.00 $411.04 $411.04. $431.04

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Comments:

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Provider: QUINCY MEDICAL CENTER 3

Participant SSN: _Rependent 01 ‘

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QUINCY MEDICAL CENTER VLG Glaln Number: 2594998
414 WHITWELL STREET

QUINCY, MA 02169

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GOODLETTSVILLE, TN 37070-1449 .

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SHEET METAL WORKERS’ NATIONAL HEALTH FUND .
P.O. Box 1449

Goodlettsville, TN 37070-1449 i
Claim No.2665060 phone (615) 859-0131" Toll-ftee (800) 831-4914 Check No. 1203371

Explanation of Benefits SMW+ Program

Provider. ANNA JAQUES HOSPITAL ,

nade Participant SSN: , :
ANNA JAQUES HOSPITAL RES Claim Number: 2665060 ~- .
25 HIGHLAND AVE
NEWBURYPORT, MA 01950

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. Processed by Administrators, Inc.

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Case 1:01-cv-12257-PBS

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Case 1:01-cv-12257-PBS. Document 4684-2 Filed 09/05/07 Page 27 of 31

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GOODLETTSVILLE, TN 37070-1449

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Case 1:01-cv-12257-PBS Document 4684-2 Filed 09/05/07 Page 28 of 31

MEDICARE NATIONAL STANDARD INTERMEDIARY REMITTANCE ADVICE
HALLMARK HEALTH SYSTEMS PROVIDER: 220070 MEDICARE
100 HOSPITAL ROAD ENDING: 10/31/2002
MALDEN MA 02148 BILL TYPE? 131
NAME: lee " SERVICE: 10/01/2002 THRU 10/31/2002
BIC; PCN; Vi9070457 1 MEDICARE PAYMENT DATE: 12/03/2002
MRN: HOOB1528 ICN: 1231539763 PAT STAT: 02% CLAIM STAT: 1
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Case 1:01-cv-12257-PBS Document 4684-2 Filed 09/05/07 Page 29 of 31

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SORET METAL WORKERS' NATIONAL HEALTH FUND

P.O. Box 1449
ne ek . oo Goodletisville, TN 37070-1449 .
- Claim No.3093339 ~ phone (615) 859-0131 ‘Toll-free (80D) 831-4914 Check No. 1605648
' Explanation of Benefits SMW Program

09/19/2005 09/19/2005 $6,134.82 $0.00 $531.64 - $531.64

, Comments:

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Provider. - a BIO} pp baL CENT
a . Participant SSN: ~ = ae
MILFORD REGIONAL MEDIC AL CEN SMG aim Number: 3093339
14 PROSPECT ST : :

MILFORD, MA 01757

ca Southern Benefit
Processed by Administrators, Inc.

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SMIWMASS 100523
Case 1:01-cv-12257-PBS Document 4684-2 Filed 09/05/07 Page 30 of 31

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220050 I 409/30/2005 } J 20051010 PAGE 6

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